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 1 Jane Becker Whitaker, PR-Bar Num. 9352
   Becker Vissepo, PSC
 2 1225 Ponce de Leon, Suite 1102
   San Juan, PR 00907
 3
   Tel. 787 945.2406
 4 jbw@beckervissepo.com
   janebeckerwhitaker@gmail.com
 5
   J. Barton Goplerud
 6 Shindler, Anderson, Goplerud & Weese, P.C.
   5015 GRAND RIDGE DRIVE, SUITE 100
 7
   WEST DES MOINES
 8 IA 50265
   Tel: (515) 223-4567
 9 goplerud@sagwlaw.com

10 John A. Girardi

11 Girardi/Keese
   1126 Wilshire Blvd.
12 Los Angeles, CA 90017
   Tel. (213) 262-6777
13 Email: jgirardi@girardikeese.com

14 Counsel for Plaintiff

15
                             UNITED STATES DISTRICT COURT
16                         NORTHERN DISTRICT OF CALIFORNIA
17
   IN RE: CATHODE RAY TUBE (CRT)                   MDL No. 1917
18 ANTITRUST LITIGATION
                                                   Case No. 07-cv-5944 JST
19
                                                   GOVERNMENT OF PUERTO RICO’S
20
     This Document Relates To:                     MOTION TO SERVE FOREIGN
21                                                 DEFENDANTS THROUGH THEIR
   Government of Puerto Rico v. Panasonic          UNITED STATES-BASED COUNSEL
22 Corporation of North America, et al, Orig C.A   UNDER FEDERAL RULE CIVIL
   No. 3:19-01246                                  PROCEDURE 4(F)(3)
23

24
                                                   Courtroom:     9, 19th Floor
25                                                 Judge:         Honorable Jon S. Tigar

26

27

28

       GOVERNMENT OF PUERTO RICO’S MOTION TO SERVE FOREIGN DEFENDANTS THROUGH THEIR
           UNITED STATES-BASED COUNSEL UNDER FEDERAL RULE CIVIL PROCEDURE 4(F)(3)
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 1 TO THE HONORABLE COURT ALL PARTIES AND THEIR ATTORNEYS:

 2        Per Federal Rule of Civil Procedure 4(f)(3), the Government of Puerto Rico,
 3 through undersigned counsel, moves the Court for permission to serve certain

 4 foreign Defendants through their respective U.S. counsel.

 5        This request would comport with due process as it is reasonably calculated to
 6 apprise the foreign defendants of this case and afford them an opportunity to appear

 7 and defend it. They have already received notice of this Complaint and the

 8 underlying allegations, but despite Plaintiff’s best efforts, the foreign Defendants

 9 remain unserved. During the 13 years of this MDL, the unserved foreign Defendants

10 are either represented by counsel or are affiliated with other defendants who are—or

11 both. Since service through their U.S. counsel would provide them with notice of

12 this lawsuit, which they already have anyway, and no international agreements

13 prohibit this type of service, the Plaintiff requests the Court’s permission to serve

14 them through their U.S. counsel.

15        Further, several rulings in this case have permitted this very request. The
16 Court has already permitted plaintiffs in this case to do so. In re Cathode Ray Tube

17 CRT Antitrust Litig., 27 F. Supp. 3d 1002, 1009 (N.D. Cal. 2014) (“Court issued an

18 Order permitting some of the [direct-action plaintiffs] to serve Defendant [Beijing-

19 Matsushita Color CRT] by mail at its D.C. counsel’s offices under Rule 4(f)(3)”); In

20 re Cathode Ray Tube (CRT) Antitrust Litig., MDL-No. 1917, 07-5944-SC, 2008

21 U.S. Dist. LEXIS 111384, *32–33 (N.D. Cal. Sept. 03, 2008) (granting Rule 4(f)(3)

22 service upon Koninklijke Philips Electronics N.V. and Toshiba Corporation, while

23 all other defendants affected by motion agreed to service); see also In re Cathode

24 Ray Tube Antitrust Litig., No. , 2014 U.S. Dist. LEXIS 78902, *80, 2014 WL

25 2581525, (N.D. Cal. June 09, 2014) (Philips Electronics and Royal Philips, when

26 faced with possible Rule 4(f)(3) order, agreed to accept service “under protest”).

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                                               ii
      GOVERNMENT OF PUERTO RICO’S MOTION TO SERVE FOREIGN DEFENDANTS THROUGH THEIR
          UNITED STATES-BASED COUNSEL UNDER FEDERAL RULE CIVIL PROCEDURE 4(F)(3)
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 8                         already secured U.S. counsel (or are affiliated with a Defendant that has), and are
                           affiliated with a Defendant that has already been served. ....................................... 8
 9

10                   C. Neither the Hague Convention nor any international agreement precludes this Court
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                                         counsel does not require transmitting anything abroad. ................ 11
12
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13
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 1

 2 I.        INTRODUCTION
 3
          In 2019, the Government of Puerto Rico through its Attorney General filed this
 4
     case on behalf of the Government’s consumers and government entities that paid
 5

 6 inflated prices for the CRT products of the 43 Defendants named in its Complaint.

 7
     The Government has served seven of the 12 United States defendants. The other
 8
     defendants, mostly international companies related to those domestic companies
 9
                                                                               1
10 already served with the Complaint, have not been served.

11
          The Attorney General now seeks the Court’s permission to serve the remaining
12
     Defendants through the alternatives available under Civil Rule 4(f)(3), namely
13

14 service through Defendants’ counsel. The Attorney General requests service on

15
     already appearing U.S. counsel because service on them does not implicate the
16
     Hague Convention rules with its complicated procedures and long delays, much less
17

18 have to take into consideration countries, such as Taiwan, that are not signatories to

19
     the Hague Convention.
20

21           The Court has already permitted plaintiffs in this case to do so. In re Cathode
22 Ray Tube CRT Antitrust Litig., 27 F. Supp. 3d 1002, 1009 (N.D. Cal. 2014) (“Court

23 issued an Order permitting some of the [direct-action plaintiffs] to serve Defendant

24 [Beijing-Matsushita Color CRT] by mail at its D.C. counsel’s offices under Rule

25 4(f)(3)”); In re Cathode Ray Tube (CRT) Antitrust Litig., MDL-No. 1917, 07-5944-

26
     1
27     The Government has served two foreign Defendants, Samsung SDI Mexico S.A. de C.V. located in Mexico as well
     as Koninklijke Philips Electronics, N.V.
28


     1
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 1 SC, 2008 U.S. Dist. LEXIS 111384, *32–33 (N.D. Cal. Sept. 03, 2008) (granting

 2 Rule 4(f)(3) service upon Koninklijke Philips Electronics N.V. and Toshiba

 3 Corporation, while all other defendants affected by motion agreed to service); see

 4 also In re Cathode Ray Tube Antitrust Litig., No. , 2014 U.S. Dist. LEXIS 78902,

 5 *80, 2014 WL 2581525, (N.D. Cal. June 09, 2014) (Philips Electronics and Royal

 6 Philips, when faced with possible Rule 4(f)(3) order, agreed to accept service “under

 7 protest”).

 8 II.         STATEMENT OF RELEVANT FACTS AND PROCEDURAL
 9             HISTORY.
10
           After the Judicial Panel on Multidistrict Litigation transferred this case on
11
     February 05, 2020, this Court conducted a case-management conference on June 24,
12
              2
13 2020. The Court ordered the Government to submit this motion by July 10; the

14
     Defendants to respond by July 24; and the Government to reply by July 31.
15
           As of July 10, the Government has successfully served seven Defendants located
16

17 in the United States as well as two international entities, one located in Mexico and

18
     one in Netherlands.3 But it has been less successful with the remaining Defendants,
19
     particularly those located outside of the United States. The Government asks this
20

21 Court to exercise its discretion to allow alternative methods in the interest of moving

22
     this case with all deliberate speed.
23
           The Government’s 43 Defendants fall into 11 groups of Defendants: 1)
24

25 Chunghwa; 2) Hitachi; 3) IRICO; 4) LG; 5) Panasonic; 6) Philips; 7) Samsung; 8)

26

27   2
         ECF #5763, Joint Case-Management Conference Statement.
     3
28    One is Samsung SDI Mexico S.A. de C.V. in Mexico, and the other is Koninklijke Philips Electronics, N.V. in
     Netherlands


     2
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 1 Samtel; 9) Tatung; 10) Thai CRT; and 11) Toshiba.4 Of the 43 Defendants, 34 are

 2
     foreign business entities from 11 countries5 that are not yet served (“Foreign
 3

 4
     Defendants”).6 The Government attaches a table that shows each of the 43

 5 Defendants, when it served each Defendant, each Defendant’s principal location, its

 6
     counsel of record, and the date of counsel’s appearance.7 Before the case’s transfer,
 7

 8 the Government had prepared Letters Rogatory as well as established a process

 9 server to begin service on the foreign defendants.8 But with the transfer, the case’s

10
     circumstances have changed. The Government spent over $26,000 to translate the
11
                                                                                                    9
12 complaints into various languages as well as for a service processor.

13          These Foreign Defendants have known about the allegations related to this case
14
     since the initial class cases began in 2007—nearly all of them were defendants to the
15
                                                                             10
16 original cases transferred from the MDL in 2007.                               Further, United States law firms

17 already represents all but one of the 11 Defendant groups.11 Moreover, U.S. counsel

18
     represent 25 of the 34 unserved Foreign Defendants. And the remaining 11 have
19

20 representatives through related entities: 10 are affiliated with a group of Defendants

21

22   4
         See the Government’s Complaint.
23   5
      Those countries are Brazil, China, Hong Kong, India, Indonesia, Japan, Malaysia, Mexico, Netherlands, Singapore,
     South Korea, Taiwan, and Thailand.
24   6
         The Government has served the Philips entity in Netherlands as well as the Samsung entity in Mexico.
25   7
         See Exhibit 6 attached to Exhibit A, Declaration of Plaintiff’s Counsel.
     8
         See Paragraph 8.
26
     9
         See Exhibits 1–5, attached to Exhibit A, Declaration of Plaintiff’s Counsel.
27   10
      See ECF #1, pg. 10, Case MDL No. 1917; See ECF #66, pgs. 1–2, Case MDL No. 1917 (naming all the same
     Defendants as the Government except for three defendants, the Chunghwa Defendants and P.T. Tosummit).
28   11
          The only Defendant group not currently represented is Thai CRT.


     3
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 1 that is already represented by counsel: one of the currently unrepresented

 2
     Defendants is a Chunghwa company, and Farmer Brownstein Jaeger LLP already
 3

 4
     represents the other Chunghwa entity; a is a Hitachi entity, and Morrison & Foerster

 5 LLP already represents the five other Hitachi entities; another is a Panasonic

 6
     company, and Winston and Strawn LLP is defending four of the other Panasonic
 7

 8 defendants; and although two Toshiba entities are unrepresented, White & Case LLP

 9 represents the other five Toshiba entities.12 Thus, in some cases, counsel even

10
     represents multiple entities within that Defendant’s group.
11

12         With the Government’s case pending since 2019 but only recently approved for

13 entry into this MDL in February 2020, there is no reason to delay this case. The

14
     Foreign Defendants already have actual notice of these cases, having defended them
15

16 for nearly two decades in through this MDL. Serving the complaints on their U.S.

17 counsel is reasonably calculated to inform them of this action as well as afford them

18
     an opportunity to defend itself in this case. As is required by Rule 4(f)(3), such a
19

20 request also does not offend any international agreement.

21
     III.     LEGAL ARGUMENT
22
           Under Civil Rule 4(f)(3), service of foreign defendants through U.S. counsel
23

24 (and even e-mail) is a well-established practice that is reasonably calculated to

25
     acquaint Defendants of an action they already know exists. Rio Props., Inc. v. Rio
26
     12
27     Attorneys from White & Case even called Plaintiff’s counsel to indicate that we had the wrong address for one of
     the Toshiba entities, but declined to provide the correct address. See Raynor v. District of Columbia, No. 14-0750
28   (RC), (D.D.C. Nov. 03, 2017) (approving but not ordering defendants’ counsel’s providing address and Social
     Security number).


     4
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 1 Int’l Interlink, 284 F.3d 1007, 1016 (9th Cir. 2002) (citations omitted); Those

 2
     methods include “delivery to the defendant’s attorney … and most recently, email.”
 3

 4
     Id. (citations omitted); see S.E.C. v. Nagaicevs, No. 12-cv-00413-JST, 2013 U.S.

 5 Dist. LEXIS 985777, *4, 2013 WL 3730578 (N.D. Cal. July 12, 2013), citing Rio

 6
     Props. at 1016. In Nagaicevs, this Court granted default judgment after plaintiff
 7

 8 served the defendant pursuant to Rule 4(f)(3) via email and regular mail to

 9 defendant’s addresses in Seychelles and Ukraine. Id. at *4. In fact, “[c]ourts in the

10
     Ninth Circuit have ordered service through United States-based counsel even when
11

12 counsel has refused to accept service on the ground that they do not represent the

13 international defendants.” Cal. Beach Co., LLC v. Exquline, Inc., No. 20-cv-01994-

14
     TSH, 2020 U.S. Dist. LEXIS 119027, *8 (N.D. Cal. July 07, 2020) (citations
15

16 omitted).

17       Here, no different than the prior orders in this case, serving the Foreign
18
     Defendants through their U.S. counsel satisfies the constitutional due-process
19

20 fairness requirement of providing notice of this pending action and does not violate

21 international law. The Foreign Defendants already have notice of this very long

22
     pending case, already have counsel, and will receive the complaint once presented to
23

24 their attorneys based in the United States. Therefore, the Court should permit the

25 Government to serve the Foreign Defendants through U.S.-based counsel.

26

27 / / /

28 / / /


     5
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 1               A.       Civil Rule 4(f)(3) permits service of foreign companies through
 2                        U.S.-based counsel.
 3
            When defendants are in a foreign country, Civil Rule 4(h)(2) permits service “in
 4
     any manner prescribed by Rule 4(f) for serving an individual….”13 Civil Rule
 5

 6 4(f)(3) allows the Government to serve them “by other means not prohibited by

 7
     international agreement, as the court orders.”14
 8
            While Rule 4(f) has three options for service, there is no hierarchy as each option
 9

10 stands “on equal footing.” Rio Props., 284 F.3d at 1015 (“court-directed service

11
     under Rule 4(f)(3) is as favored as service available under Rule 4(f)(1)
12
     [internationally agreed means, such as the Hague Convention] or Rule 4(f)(2)
13

14 [manner prescribed by foreign county’s law, such a letter of rogatory]”); see

15
     Nagaicevs, 2013 U.S. Dist. LEXIS 985777, *4 (N.D. Cal. July 12, 2013) (Rule
16
     4(f)(3) is “an alternative to service through Rule 4(f)(1)”). Thus, a party does not
17

18 need to attempt service first by diplomatic channels or letters rogatory before

19
     seeking alternative service under Rule 4(f)(3). Rio Props. at 1015; Likas v.
20

21
     Chinacache Int’l Holdings, Ltd., No. cv-19-6942-FMO-SSx, 2020 U.S. Dist. LEXIS

22 90923, *5 (C.D. Cal. Jan. 29, 2020) (other than limits by international agreement,

23

24   13
          Civil Rule 4(h)(2) states in pertinent part:
25               a domestic or foreign corporation, or a partnership or other unincorporated association that is subject to suit
                 under a common name, must be served: … (2) at a place not within any judicial district of the United States,
26               in any manner prescribed by Rule 4(f) for serving an individual, except personal delivery under (f)(2)(C)(i).
     14
          Civil Rule 4(f)(3) states in pertinent part:
27
                 Unless federal law provides otherwise, an individual—other than a minor, an incompetent person, or a person
28               whose waiver has been filed—may be served at a place not within any judicial district of the United States:
                 … (3) by other means not prohibited by international agreement, as the court orders.


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 1 “Rule 4(f) imposes no limitation on court’s authority to authorize alternative means

 2
     of service.…A plaintiff need not pursue other methods of service before requesting
 3

 4
     … an alternative method of service.”)

 5       To invoke Rule 4(f)(3), the method of service must provide the Foreign
 6
     Defendants due process. Rio Props. at 1014, 1016. To do so, “the method of service
 7

 8 … must be ‘reasonably calculated, under all the circumstances, to apprise interested

 9 parties of the pendency of the action and afford them an opportunity to present their

10
     objections.’” Rio Props. at 1016–17 (citation omitted). Delivering copies of the
11

12 Complaint, translated into the language of each of the unserved Foreign Defendants,

13 which the Government has done, is not required but helps satisfy that test. CJ E&M

14
     Am., Inc. v. IQuiyi, Inc., No. 18-5771-PA-JEMx, 2018 U.S. Dist. LEXIS 236120,
15

16 *11 (C.D. Cal. August 13, 2018) (permitting service of Chinese company upon U.S-

17 based counsel with English and Chinese versions of complaint). Indeed, in the

18
     instant case, each of these Defendants knows that this case is pending and seemed
19
                                                  th
20 ready to state their objections at the June 24 conference. See Serenium, Inc. v.

21 Zhou, No. 20-cv-02132-BLF, 2020 U.S. Dist. LEXIS 94572, *11 (N.D. Cal. May

22
     29, 2020) (service of U.S.-based counsel reasonably calculated as defendants have
23

24 actual notice of lawsuit and specially appeared through U.S. counsel).

25       Rule 4(f)(3) provides the Court with flexibility to permit service on the Foreign
26
     Defendant’s counsel or even by email. “[T]rial courts have authorized a wide variety
27

28 of alternative methods of service including publication, ordinary mail, mail to the


     7
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 1 defendant’s last known address, delivery to the defendant’s attorney, telex, and

 2
     most recently, email.” Rio Props., 284 F.3d at 1016 (emphasis added) (citations
 3

 4
     omitted). Thus, the Rule does not require any particular method of service—only

 5 that the Court select a method reasonably calculated to provide the defendant with

 6
     notice and an opportunity to respond. Rio Props. at 1017. This “unshackles” the
 7

 8 district court, id., leaving the decision to the district court’s sound discretion. Id. at

 9 1016.

10
            B.    Service through U.S.-based counsel would apprise the Foreign
11
                  Defendants here as they already know about this case because of
12
                  this long-pending MDL, they have already secured U.S. counsel (or
13
                  are affiliated with a Defendant that has), and are affiliated with a
14
                  Defendant that has already been served.
15

16       Under the circumstances here, service upon the Foreign Defendant’s United
17 States-based counsel is appropriate. The Northern District of California recognizes

18
     that service upon counsel “is a common form of service ordered under Rule 4(f)(3).”
19

20 Richmond Techs., Inc. v. Aumtech Bus. Sols., 2011 U.S. Dist. LEXIS 71269, 2011

21 WL 2607158, *3 (N.D. Cal. 2011). In Rio Properties, the seminal case involving

22
     Rule 4(f)(3), the Ninth Circuit affirmed the district court’s decision to authorize
23

24 service via email to a Costa Rican entity. Rio Props. at 1017. The court held that the

25
     plaintiff needed only to show that the facts and circumstances necessitated the
26
     court’s intervention—not that plaintiff exhausted every permissible means of
27

28 service. Id. at 1016. In a recent Northern District of California case, the China-based


     8
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 1 defendants already had U.S.-based legal counsel, and thus the district court found

 2
     that service to them was “‘reasonably calculated’….” Juicero, Inc. v. iTaste Co., No.
 3

 4
     17-cv-01921-BLF, 2017 U.S. Dist. LEXIS 86033, *9 (N.D. Cal. June 05, 2017),

 5 citing Rio Props., 284 F.3d at 1017, Richmond Techs. at *13.

 6
         Here, service through U.S.-based counsel meets that test as the Foreign
 7

 8 Defendants or their affiliated Defendants already have counsel, who can easily

 9 locate their clients and communicate with them regarding the lawsuit. In a 2012

10
     decision from In re TFT-LCD (Flat Panel) Antitrust Litigation, the Northern District
11

12 of California granted plaintiff’s request for service to U.S. counsel of Chunghwa

13 Picture Tubes, a defendant here. Rockwell Automation v. AU Optronics Corp. (In re

14
     TFT-LCD (Flat Panel) Antitrust Litig.), Nos. M-07-1827-SI, MDL-1827, C-12-
15

16 2495-SI, 2012 U.S. Dist. LEXIS 96689, *37–38 (N.D. Cal. July 10, 2012). The

17 court, having already “granted a number of similar motions,” granted plaintiff’s

18
     request (while saving defendant the time and expense of an opposition) since
19

20 defendant had actively participated in the MDL for years. Id. at *38. Because this is

21 the same situation, this Court should grant the Government’s request here.

22
         A 2020 decision only bolsters the Government’s position. In Likas, the plaintiff
23

24 had started to pursue service through the Hague Convention, but then moved for

25 alternative service on defendant’s U.S. Counsel. 2020 U.S. Dist. LEXIS 90923, *2–

26
     3 (C.D. Cal. Jan. 29, 2020). The Court held that it would permit service through
27

28 U.S. counsel because such service comports with due process, even if the plaintiff


     9
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 1 had not finished its process with the Hague Convention. Id. at *7; See Celgard, LLC

 2
     v. Shenzhen Senior Tech. Material Co. (US) Research Inst., No. 19-cv-05784-VKD,
 3

 4
     2019 U.S. Dist. LEXIS 187670, *3, 2019 WL 5550039 (N.D. Cal. Oct. 28, 2019)

 5 (granting service via email and Federal Express on U.S. counsel of a Chinese

 6
     corporation because the defendant had actual notice of the lawsuit).
 7

 8        Here, the Foreign Defendants know about this case from a variety of sources.

 9 They have been parties to similar cases, starting with the criminal proceedings

10
     nearly two decades ago and this MDL. Most have their own counsel in this case, and
11

12 those that do not are affiliated with other Defendants who do. Thus, they have either

13 implicit or knowledge of this case.

14
          Additionally, there is no reason to delay this case by requiring the Government to
15

16 use less efficient means of service for the 34 Foreign Defendants located in 11

17 different countries. See Victaulic Co. v. Allied Rubber & Gasket Co., No. 3:17-cv-

18
     01006-BEN-JLB, 2020 U.S. Dist. LEXIS 82150, *2 n.3 (S.D. Cal. May 08, 2020)
19

20 (Hague Convention doesn’t impose an obligatory time frame, and for example, in

21 China, where five Foreign Defendants are located, “service of process will take up

22
     to two years or more, with proofs of service being returned an average of 1 to 5
23

24 months after service occurs. This means there is a wait window of two years with no

25 interim information provided.”); EGI-VSR, LLC v. Coderch, No. 18-12615, 2020

26
     U.S. App. LEXIS 19809, *8 (11th Cir. June 25, 2020) (letters rogatory “can take at
27

28 least twelve months to complete”). Thus, service through U.S. counsel will not only


     10
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 1 provide Defendants’ due process but also will expedite resolution of this case on its

 2
     merits.
 3

 4              Twenty-five of the 34 unserved Foreign Defendants are represented by U.S.
 5 counsel already. Of the 11 remaining, all but one is affiliated with Defendants that

 6 are already represented by stateside counsel and have been represented by that firm
                   15
 7 for years —not only that, but seven of the eleven groups of Defendants include an

 8 entity here in the United States that has already been served. Thus, service on their

 9 U.S. counsel is reasonably calculated to apprise them of this lawsuit the Foreign

10 Defendants have known about for years.

11              C.       Neither the Hague Convention nor any international agreement
12                       precludes this Court from permitting service through U.S. counsel.
13                       1.      The Hague Convention does not apply because service of U.S.
14                               counsel does not require transmitting anything abroad.
15          Because service to counsel here in the United States “does not require the
16
     delivery of documents abroad,” the Hague Convention does not apply. Likas, 2020
17

18 U.S. Dist. LEXIS 90923, at *6 n.6, see also Calista Enter., LTD v. Tenza Trading

19 LTD, 40 F.Supp.3d 1371, 1376 (D. Or. 2014) (citations omitted), Vanderhoef v.

20
     China Auto Logistics, Inc., 2019 U.S. Dist. LEXIS 205798, *7–8 (D.N.J. Nov. 26,
21

22 2019) (citations omitted). In this, the Court ruled that “service on foreign

23 defendants, even those who are signatories to the Hague Convention, is proper under

24
     Rule 4(f)(3) where the foreign defendants have domestic subsidiaries and/or counsel
25

26 and where service does not require transmittal abroad.” CRT, 2008 U.S. Dist.

27

28   15
          Thai CRT is the exception.


     11
      Case 4:07-cv-05944-JST Document 5783 Filed 07/10/20 Page 17 of 21




 1 LEXIS 111384, *32, citing Schlunk, 486 U.S. at 707. The Court outright rejected

 2
     Defendants’ argument to the contrary: “Defendants’ argument that service under
 3

 4
     Rule 4(f)(3) is somehow prohibited by the Hague Convention in the present

 5 circumstances is, accordingly, without support.” Id. “Because Koninklijke and

 6
     Toshiba have domestic subsidiaries and domestic counsel, transmittal aboard for
 7

 8 service is not required.” Id.

 9        In Calista, while granting service through U.S.-based counsel, the court added
10
     that its decision did not implicate the Hague Convention because service would
11

12 occur in the United States. 40 F. Supp.3d at 1376. In other cases, the Northern

13 District of California has continued to recognize that service upon defendants’ U.S.

14
     counsel does not implicate the Hague Convention. See Richmond Techs., 2011 U.S.
15

16 Dist. LEXIS 71269 at *42 (citations omitted). Citing to the U.S. Supreme Court, that

17 court held that “because the Hague Convention only applies if the law of the forum

18
     state requires service of documents abroad, the Hague Convention is not a barrier to
19

20 any alternative service that will be performed domestically.” Id., citing

21 Volkswagenwerk Aktiengesellschaft v. Schlunk, 486 U.S. 694, 700 (1988), FMAC

22
     Loan Receivables v. Dagra, 228 F.R.D. 531, 534–35 (E.D. Va. 2005) (ordering
23

24 service on domestic counsel under Rule 4(f)(3) and finding that Hague Convention

25 would not apply because service would be occur in the United States).

26
          Because the Government seeks to serve the Foreign Defendants’ U.S. counsel,
27

28 the Hague Convention is not triggered since 25 of the 35 Foreign Defendants are


     12
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 1 already represented by U.S. Counsel and 10 of the remaining 11 are affiliated with

 2
     Defendants who already have counsel here. Thus, there is nothing to transmit
 3

 4
     overseas.

 5
                   2.     Even if a country is a signatory to the Hague Convention, the
 6
                          Convention does not bar service through counsel.
 7
          Additional support for permitting this type of service is that the Hague
 8

 9 convention itself does not bar it. The Northern District of California has held that

10 “service on [d]efendants’ U.S.-based attorney is permissible because the Hague

11
     Convention does not bar this type of service.” Juicero, 2017 U.S. Dist. LEXIS
12

13 86033, *6. A second decision from the Northern District of California determined

14 that “numerous courts have authorized alternative service under Rule 4(f)(3) even

15
     where the Hague Convention applies.” Richmond Techs., 2011 U.S. Dist. LEXIS
16

17 71269 at *41. This is “true even in cases involving countries that […] have objected

18 to the alternative forms of service permitted under Article 10 of the Hague

19
     Convention.” Id. Thus, “[n]othing in the Hague Convention prohibits such service.”
20

21 Id. at *44, citing RSM Prod. Corp. v. Friedman, No. 06-civ-11512-dlc, 2007 U.S.

22
     Dist. LEXIS 58194, 2007 WL 2295907, *3 (S.D.N.Y. Aug. 10, 2007) (“The Hague
23
     Service Convention does not prohibit an order pursuant to Rule 4(f)(3) permitting
24

25 service through American counsel.”).

26
          In Richmond Technologies, the plaintiff moved to serve an Indian company
27
     through its U.S. counsel. 2011 U.S. Dist. LEXIS 71269. The defendant objected
28


     13
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 1 because India was a signatory to the Hague Convention, but the court rejected that

 2
     argument. Id. at *44–45. The Northern District of California also credited plaintiff’s
 3

 4
     urgency argument because there was no evidence the Hague Convention methods

 5 would be more efficient than Rule 4(f)(3)’s alternative service. Id. at *44. In that

 6
     case, like here, the defendants had actual notice of the action and an on-going
 7

 8 relationship with its counsel, so the Court permitted service on U.S. counsel. Id. at

 9 *45–46. Along with India, the same applies to defendants principally located in the

10
     same countries as the Foreign Defendants:16 1) China,17 2) Hong Kong,18 3) Japan,19
11
                                   20
12 and 4) South Korea.                  (The following countries are not signatories to the Hague

13 Convention and no international agreement bars Rule 4(f)(3) service to the Foreign

14
     Defendant entities located there: 1) Indonesia,21 2) Malaysia,22 3) Singapore,23 4)
15

16
     16
17        As of 2019, Brazil is a new signatory to the Hague Convention.
     17
          Likas, 2020 U.S. Dist. LEXIS 90923, *6 (C.D. Cal. Jan. 29, 2020), citing Juicero, 2017 U.S. Dist. LEXIS 86033,
18 (N.D. Cal. 2017), Vanderhoef, 2019 U.S. Dist. LEXIS 205798.
     18
     Facebook, Inc. v. Banana Ads., LLC, No. C-11-3619-YGR, 2012 U.S. Dist. LEXIS 42160, *7, 2012 WL 1038752
19 (N.D. Cal. Mar. 27, 2012) (granting alternative service via email under Civil Rule 4(f)(3) not prohibited by
     international agreement, although a signatory to the Hague Convention).
20
     19
          Xilinx, Inc. v. Good Kaisha IP Bridge 1, 246 F. Supp. 3d 1260, 1264 (N.D. Cal. 2017) (permitting service on U.S.-
21 based counsel for Japanese company as “service under Rule 4(f)(3) would [not] violate an international agreement,
     and the Hague Convention is no bar.”), citing Richmond Techs., at *12; Hawkins v. Bank of Am., N.A., No. 17-cv-
22 01954-BAS-AGS, 2018 U.S. Dist. LEXIS 57758, *9, 2018 WL 161941 (S.D. Cal. Apr. 04, 2018) (same), citing
     Xilinx, 246 F. Supp. 3d 1260, Liberty Media Holdings, LLC v. March, No. 10-cv-1809-WQH-BLM, 2011 U.S. Dist.
23 LEXIS 5290, 2011 WL 197838, *2 (S.D. Cal. Jan. 20, 2011) (permitting email service).
     20
          Carrico at *4 (N.D. Cal. May 10, 2016) (although the Republic of Korea is a party to the Hague Convention and
24 has objected to its service via postal channels, service on defendant through U.S.-based counsel does not implicate
     that provision.), citing In re LDK Solar Sec. Litig., No. C-07-05182-WHA, 2008 U.S. Dist. LEXIS 90702, 2008 WL
25 2415186, *3 (N.D. Cal. June 12, 2008).
     21
          Exp.-Imp. Bank of the U.S. v. Asia Pulp & Paper Co., No. 03-civ-8554-LTS-JCF, 2005 U.S. Dist. LEXIS 8902, *5,
26 2005 WL 1123755 (May 11, 2005) (“Indonesia is not party to any applicable treaty or agreement” related to service
     under Civil Rule 4(f)) (citations omitted); Dee-K Enters., Inc. v. Heveafil SDN. Bhd., 174 F.R.D. 376 (E.D. Va. 1997).
27   22
          AngioDynamics, Inc. v. Biolitec AG, 780 F.3d 420, 428–29 (1st Cir. 2015) (affirming service on U.S.-based counsel
28 and by email per Rule 4(f)(3) for Malaysian company); Dee-K Enters., Inc. v. Heveafil SDN. Bhd., 174 F.R.D. 376
     (E.D. Va. 1997) (Malaysia is not a party to the Hague Convention “or any other applicable treaty or agreement”).


     14
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 1 Taiwan,24 and 5) Thailand.25

 2
             Thus, even if a country is a signatory to the Hague Convention, this Court is
 3
     not beholden to it. The Hague Convention, even if a country has certain objections
 4
     to it, does not specifically preclude service on stateside counsel under Rule 4(f)(3)—
 5
     especially when the Foreign Defendants and their counsel have notice of the case,
 6
     the service through the Hague Convention will unduly delay this matter, and due
 7
     process is accomplished with service on U.S. counsel.
 8
     IV.     CONCLUSION
 9

10        The Government respectfully requests that the Court permit it to service the

11 Foreign Defendants through their United States based counsel because such service

12
     will provide Defendants with due process and is not prohibited by international
13

14 agreement.

15
     Dated July 10, 2020                                     By: /s/ John A. Girardi
16                                                           John A. Girardi
17
                                                             Attorney for Plaintiff,
                                                             the Government of Puerto Rico
18

19

20

21   23
       Assef v. Doe, No. 15-cv-01960-MEJ, 2016 U.S. Dist. LEXIS 41597, *9, 2016 WL 1191683 (N.D. Cal. Mar. 28,
     2016) (“Singapore is not a member of the Hague Convention, but the Court is unaware of any international agreement
22   prohibiting service by email there.”), citing U.S. v. First Coast Meat & Seafood, 452 F. Supp. 2d 1348 (2006); see
     Taylor Made Golf Co. v. Individuals, No. 20-60468-civ-SMITH, 2020 U.S. Dist. LEXIS 109840, *3 n.1 (S.D. Fla.
23   Apr. 09, 2020).
     24
24     Fourte Int’l Ltd. BVI v. Pin Shine Indus. Co., No. 18-cv-00297-BAS-BGS, 2019 U.S. Dist. LEXIS 8723, *6–7,
     2019 WL 246562 (S.D. Cal. Jan. 17, 2019) (granting service on U.S.-based counsel for Taiwanese company since
     Taiwan is not a party to Hague Convention and no international agreement prohibits it), citing Tatung Co. Ltd. v. Hsu,
25
     No. SA-CV-13-1743-DOC-ANx, 2015 U.S. Dist. LEXIS 179201, 2015 WL 11089492, *2 (C.D. Cal. May 18, 2015)
     (other citations omitted); ATS Claim, LLC v. Epson (In re TFT-LCD Antitrust Litig.), No. M-07-1827-SI, 2009 U.S.
26   Dist. LEXIS 93448, *15 (N.D. Cal. Oct. 06, 2009) (same).
     25
27      Facebook, 2012 U.S. Dist. LEXIS 42160, *7 (N.D. Cal. Mar. 27, 2012) (permitting Rule 4(f)(3) service to Thai
     company as Thailand is not a party to Hague Convention and no international agreement prohibits it); Craigslist, Inc.
28   v. Meyer, No. C-09-4739-SI, 2010 U.S. Dist. LEXIS 89955, *6–7, 2010 WL 2975938 (N.D. Cal. July 26, 2010)
     (same).


     15
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 1                                       PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3        At the time of service, I was over 18 years of age and not a party to this action. I am
   employed in the County of Los Angeles, State of California. My business address is 1126
 4 Wilshire Boulevard, Los Angeles, CA 90017-1904.

 5         On July 10, 2020, I served true copies of the following document(s) described as on the
   interested parties in this action as follows: GOVERNMENT OF PUERTO RICO’S MOTION
 6 TO SERVE FOREIGN DEFENDANTS THROUGH THEIR UNITED STATES-BASED
   COUNSEL UNDER FEDERAL RULE CIVIL PROCEDURE 4(F)(3)
 7
           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
 8 document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
   who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
 9 who are not registered CM/ECF users will be served by mail or by other means permitted by the
   court rules.
10
           I declare under penalty of perjury under the laws of the United States of America that the
11 foregoing is true and correct and that I am employed in the office of a member of the bar of this
   Court at whose direction the service was made.
12
           Executed on July 10, 2020, at Los Angeles, California.
13

14
                                                      /s/ Kali V. Fournier
15                                                    Kali V. Fournier
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